 1                                                                            District Judge Lauren King

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 7                               UNITED STATES DISTRICT COURT FOR THE
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9   STATE OF WASHINGTON, et al.,
                                                      CASE NO. 2:25-cv-00244-LJK
10                          Plaintiffs,
                                                      NOTICE OF COMPLIANCE
                            v.
11
     DONALD J. TRUMP, in his official capacity as
     President of the United States, et al.,
12
                            Defendants.
13

14

15          Defendants respectfully submit this Notice of Compliance regarding the Court’s

16 preliminary injunction, entered on February 28, 2025. See ECF No. 233 (hereinafter, Order).

17          1. This Court entered a preliminary injunction on the evening of Friday, February 28,
18
                2025. That Order directed (among other things): “Defendants’ attorneys shall provide
19
                written notice of this Order to all Defendants and agencies and their employees,
20
                contractors, and grantees by March 6, 2025. Defendants shall file a copy of the notice
21
                on the docket at the same time.” ECF No. 233 at 53.
22

23
     Notice of Compliance                                                        U.S. DEPARTMENT OF JUSTICE
24   2:25-cv-00244-LK - 1                                               CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
                                                                                      1100 L STREET, NW
                                                                                    WASHINGTON, DC 20005
                                                                                         202-305-0845
 1              2. Consistent with that directive, later that evening1 Defendants’ attorneys provided a

 2                  copy of the Order to the Defendant agencies and followed up with a written notice
 3                  of the Order to all Defendant agencies today, stating that Defendant agencies should
 4                  disseminate this written notice to employees, contractors, and grantees as applicable.
 5
                    A copy of that written notice is attached hereto.
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 7

 8 DATED this 5th day of March, 2025.

 9                                                       Respectfully submitted,

10                                                       YAAKOV M. ROTH
                                                         Acting Assistant Attorney General
11                                                       Civil Division

12                                                       MICHELLE BENNETT
                                                         Assistant Branch Director
13
                                                         /s/ Vinita B. Andrapalliyal
14                                                       Vinita B. Andrapalliyal
                                                         Christian S. Daniel
15                                                       Trial Attorneys
                                                         United States Department of Justice
16                                                       Civil Division, Federal Programs Branch
                                                         1100 L Street NW
17                                                       Washington, DC 20530
                                                         Tel.: (202) 305-0845
18                                                       Vinita.b.andrapalliyal@usdoj.gov

                                                         Attorneys for Defendants
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      The Court’s order was posted on the docket at 9:35 PM Pacific Time on February 28, 2025, which is 12:35 AM Eastern
     Time on March 1, 2025, and undersigned counsel sent her initial notification approximately one hour later. Most agency
     counsel are located on the East Coast; accordingly, most agency counsel did not receive undersigned counsel’s email
23   notification until early in the morning on March 1, 2025.
         Notice of Compliance                                                                  U.S. DEPARTMENT OF JUSTICE
24       2:25-cv-00244-LK - 2                                                         CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
                                                                                                    1100 L STREET, NW
                                                                                                  WASHINGTON, DC 20005
                                                                                                       202-305-0845
